              Case 6:18-cv-00232-TC     Document 24    Filed 02/04/19   Page 1 of 3




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         Attorneys for Defendants University of Oregon and Yue Fang




                            UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      EUGENE DIVISION

DR. YONGLI ZHANG,                                     Case No. 6:18-cv-00232-TC

                        Plaintiff,                    DEFENDANTS’ UNOPPOSED
                                                      MOTION FOR EXTENSION OF
         v.                                           DISPOSITIVE MOTION
                                                      DEADLINE
UNIVERSITY OF OREGON, and YUE
FANG,

                        Defendants.


                       I.     CERTIFICATE PURSUANT TO LR 7-1

         Pursuant to LR 7-1, counsel for Defendants University of Oregon and Yue Fang

have conferred with Plaintiff’s counsel regarding the subject of this motion, and it is

unopposed.

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Page 1        DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF DISPOSITIVE
              MOTION DEADLINE

5509/15 00944739 V 1
           Case 6:18-cv-00232-TC       Document 24     Filed 02/04/19   Page 2 of 3




                                       II.    MOTION

                 Defendants respectfully move this Court for an order extending the

deadline to file dispositive motions. This motion is made in good faith and is not

intended to create unnecessary delay and is supported by the Declaration of Liani J.

Reeves filed herewith.

                 The current deadline to file dispositive motions is February 13, 2019.

Defendants ask for a two-week extension of time due to Defendants’ counsel out of town

scheduling conflicts. Consequently, Defendants request the following new deadline:

Deadline                         Existing Date                  Proposed Date

Dispositive Motions              February 13, 2019              February 27, 2019


                                    III.     CONCLUSION

                 Defendants respectfully request that this Court grant Defendants’

Unopposed Motion to Extend Dispositive Motion Deadline and enter an Order

extending the deadline to file dispositive motions as indicated above.



                 DATED: February 4, 2019.

                                                BULLARD LAW


                                                By s/ Liani J. Reeves
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Page 2 DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF DISPOSITIVE
       MOTION DEADLINE

5509/15 00944739 V 1
           Case 6:18-cv-00232-TC       Document 24     Filed 02/04/19   Page 3 of 3




                               CERTIFICATE OF SERVICE

                 I hereby certify that on February 4, 2019 I served the foregoing

DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF DISPOSITIVE

MOTION DEADLINE on:

                 David Griggs
                 Griggs Law Group PC
                 4900 SW Griffith Drive, Suite 165
                 Beaverton, OR 97005

                 Adam Carter
                 R. Scott Oswald
                 The Employment Law Group, PC
                 888 17th St. NW, 9th Floor
                 Washington D.C., DC 20006

        by electronic means through the Court’s Case Management/Electronic Case File
         system, which will send automatic notification of filing to each person listed
         above.

        by mailing a true and correct copy to the last known address of each person
         listed. It was contained in a sealed envelope, with postage paid, addressed as
         stated above, and deposited with the U.S. Postal Service in Portland, Oregon.

        by causing a true and correct copy to be delivered via overnight courier to the
         last known address of each person listed. It was contained in a sealed envelope,
         with courier fees paid, and addressed as stated above.

        by faxing a true and correct copy to the last known facsimile number of each
         person listed, with confirmation of delivery. It was addressed as stated above.

        by emailing a true and correct copy to the last known email address of each
         person listed, with confirmation of delivery.


                                                s/ Liani J. Reeves
                                                Liani J. Reeves, OSB No. 013904
                                                Kalia J. Walker, OSB No. 154434
                                                Attorneys for Defendants
                                                University of Oregon and Yue Fang




Page 1     CERTIFICATE OF SERVICE


5509/15 00944739 V 1
